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 1   Christopher B. Ghio (State Bar No. 259094)
     Christopher Celentino (State Bar No. 131688)
 2   Jonathan Serrano (State Bar No. 333225)
     DINSMORE & SHOHL LLP
 3   655 West Broadway, Suite 800
     San Diego, CA 92101
 4   Telephone: 619.400.0500
     Facsimile: 619.400.0501
 5   christopher.ghio@dinsmore.com
     christopher.celentino@dinsmore.com
 6   jonathan.serrano@dinsmore.com
 7   Proposed Special Counsel to Richard A. Marshack,
     Chapter 11 Trustee
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                             UNITED STATES BANKRUPTCY COURT
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                              CENTRAL DISTRICT OF CALIFORNIA
11
                                       SANTA ANA DIVISION
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13
                                                        Case No.: 8:23-bk-10571-SC
14   In re:
                                                        Chapter 11
15   THE LITIGATION PRACTICE GROUP P.C.,
                                                        Adv. Proc. No. 8:23-ap-01046-SC
16            Debtor.
                                                        SUPPLEMENTAL PROOF OF SERVICE
17                                                      FOR STIPULATION FOR JUDGMENT
     RICHARD A. MARSHACK,                               (1) AVOIDING, RECOVERING, AND
18   Chapter 11 Trustee,                                PRESERVING TRANSFERS TO
                                                        DEFENDANT, PHOENIX LAW GROUP,
19                                                      INC.; (2) TURNING OVER ALL
                                                        TRANSFERRED PROPERTY TO
20                        Plaintiff,                    TRUSTEE AND (3) DISMISSING
                                                        WITHOUT PREJUDICE DEFENDANTS
21                                                      WILLIAM TAYLOR CARSS AND
                                                        MARIA EEYA TAN
22                          v.
     TONY DIAB, an individual; DANIEL S.                [No Hearing Required]
23   MARCH, an individual; ROSA BIANCA LOLI,
     an individual; LISA COHEN, an individual;
24   WILLIAM TAYLOR CARSS, an individual;
     ENG TANG, an individual; MARIA EEYA TAN,
25   an individual; JAKE AKERS, an individual; HAN
     TRINH, an individual; JAYDE TRINH, an
26   individual; WES THOMAS, an individual;
     SCOTT JAMES EADIE, an individual; JIMMY
27   CHHOR, an individual; DONGLIANG JIANG,
     an individual; OAKSTONE LAW GROUP PC;
28   GREYSON LAW CENTER PC; PHOENIX

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     LAW GROUP, INC.; MAVERICK
 1   MANAGEMENT, LLC; LGS HOLDCO, LLC;
     CONSUMER LEGAL GROUP, P.C.; VULCAN
 2   CONSULTING GROUP LLC; B.A.T. INC. d/b/a
     COAST PROCESSING; PRIME LOGIX, LLC;
 3   TERACEL BLOCKCHAIN FUND II LLC;
     EPPS; EQUIPAY; AUTHORIZE.NET; WORLD
 4   GLOBAL; OPTIMUMBANK HOLDINGS, INC.
     d/b/a OPTIMUM BANK; MARICH BEIN, LLC;
 5   BANKUNITED, N.A.; REVOLV3, INC.;
     FIDELITY NATIONAL INFORMATION
 6   SERVICES, INC. d/b/a FIS; WORLDPAY, INC.;
     WORLDPAY GROUP; MERIT FUND, LLC;
 7   GUARDIAN PROCESSING, LLC; THE
     UNITED STATES POSTAL SERVICE; and
 8   DOES 1 through 100, inclusive,
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10                      Defendants.

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                              PROOF OF SERVICE OF DOCUMENT
 1
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
 2     address is:
                                               Dinsmore & Shohl LLP
 3                                        550 S. Hope Street, Suite 1765
                                           Los Angeles, California 90071
 4
      A true and correct copy of the foregoing document entitled (specify): Stipulation for
                                                                                 Judgment (1)
 5    Avoiding, Recovering, and Preserving Transfers to Defendant, Phoenix Law Group, Inc.; (2)
      Turning Over All Transferred Property to Trustee and (3) Dismissing Without Prejudice
 6    Defendants William Taylor Carss and Maria Eeya Tan will be served or was served (a) on the
      judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
      below:
 7
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
 8
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On June 28, 2023, I checked the CM/ECF docket for this bankruptcy case or
 9
      adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
10

11
                                                                 Service information continued on attached page
12
     2. SERVED BY UNITED STATES MAIL:
      On (date) June 28, 2023, I served the following persons and/or entities at the last known addresses in
13
      this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
      envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the
14
      judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours
      after the document is filed.
15

16
                                                                 Service information continued on attached page
17
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
      (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
18
      June 28, 2023, I served the following persons and/or entities by personal delivery, overnight mail service,
      or (for those who consented in writing to such service method), by facsimile transmission and/or email as
19
      follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to,
      the judge will be completed no later than 24 hours after the document is filed.
20

21                  William Taylor Carss: ty.carss@phoenixlaw.co

22                  Maria Eeya Tan: eeyah@phoenixlaw.co

23                  Phoenix Law, PC, c/o William Taylor Carss: ty.carss@phoenixlaw.co

24                                                               Service information continued on attached page

25   I declare under penalty of perjury under the laws of the United States that the foregoing is true and
       correct.
26
     June 28, 2023            Jonathan Serrano                 /s/ Jonathan Serrano
27   Date                     Printed Name                        Signature

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